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                                   Exhibit B

                      Schedule of ADR/ACR Eligible Claims
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                                                                  One Hundred and Forty-Second Omnibus Objection
                                                                  Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                       ASSERTED CLAIM
    NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
1   MONTALVO AMILL, IRMA                                                                     7/3/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      131546          Undetermined*
    29 NELSON AVE.
    WATERBURY, CT06705

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
2   MONTALVO MARTINEZ, NORBERTO                                                             6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      136685            $ 100,000.00*
    URB. LA PROVIDENCIA
    BLOQUE 1-H-6 CALLE 7A
    TOA ALTA, PR00953

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
3   MONTANEZ RIVERA, NORIS                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      142966          Undetermined*
    HC-38 BOX 7819
    GUANICA, PR 00653

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
4   MONTANEZ RODRIGUEZ, HAYDEE                                                               7/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      142130               $ 9,600.00
    P.O. BOX 395
    MARICAO, PR 00606

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
5   MONTES CORDERO, CARMEN MILAGROS                                                         6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      136024              $ 50,000.00
    97 VISTA DEL VALLE
    MANATI, PR 00674

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
6   MONTES CORDERO, MARIA LINA                                                              6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      133587              $ 50,000.00
    1507 CALLE MONTE GRANDE
    URBANIZACION MONTE VERDE
    MANATI, PR 00674

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
7   MORALES COLON, NORMA IRIS                                                               6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      119400          Undetermined*
    HC - 03 BOX 15455
    JUANA DIAZ, PR 00795

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors


            * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 1 of 5
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                                                                   One Hundred and Forty-Second Omnibus Objection
                                                                   Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
8    MORALES FIGUEROA, MILDRED                                                               6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      151058          Undetermined*
     PO BOX 682
     COMERIO, PR 00782

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
9    MORALES FIGUEROA, PEDRO I.                                                              6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      148707          Undetermined*
     HC 3 BOX 100 436
     COMERIO, PR 00782

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
10   MORALES LEBRON, JOSEFINA                                                                6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      164465          Undetermined*
     URB SANTA ELENA 36 CALLE 3
     YABUCOA, PR 00767

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
11   MORALES RAMOS, OMALIS                                                                   6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      112507          Undetermined*
     23401 CALLE LOPEZ VEGAS I
     CAYEY, PR00736

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
12   MORALES SANTIAGO, CARMEN Y                                                              6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      125254             $ 12,000.00*
     HC 02 BOX 8292
     CARR 818 KM 3.3
     COROZAL, PR 00783

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
13   MORALES VELAZQUEZ, NELKA LIZ                                                             7/2/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      152950              $ 3,600.00*
     6357 PORTHOLE LN
     FORT WORTH, TX 76170-2008

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
14   MORALES, MARTINA                                                                        6/29/2018      17 BK 03566-LTS Employees Retirement System of the               149189          Undetermined*
     APARTADO743                                                                                                            Government of the Commonwealth
     ARROYO, PR 00714                                                                                                       of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors


             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 2 of 5
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                                                                   One Hundred and Forty-Second Omnibus Objection
                                                                   Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
15   MOURA GRACIA, LILLIAN                                                                   6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      118725          Undetermined*
     HC 09 BOX 1507
     PONCE, PR 00731

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
16   MUNIZ OSORIO , BRENDA                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      126168          Undetermined*
     X-9 CALLE HIGUERO
     DORADO, PR 00646

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
17   NAVARRO ROMERO, LUZ D.                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      127886          Undetermined*
     C-12 D URB EXT JARD. ARROYO
     ARROYO, PR 00714

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
18   NAZARIO SANTIAGO, CARMEN DELIA                                                          6/28/2018      17 BK 03566-LTS Employees Retirement System of the               126242          Undetermined*
     VILLA DEL CARMEN KIL 19.5 CARRE 150                                                                                    Government of the Commonwealth
     COAMO, PR 00769                                                                                                        of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
19   NEGRON COLONDRES, LOURDES                                                               6/29/2018      17 BK 03566-LTS Employees Retirement System of the               145588          Undetermined*
     URB. BUENA VISTA, CALLE ENSUEÑO 1082                                                                                   Government of the Commonwealth
     PONCE, PR 00717                                                                                                        of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
20   NEGRON SANTIAGO, ESMERALDA                                                              6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      135754          Undetermined*
     408 CARR 149 APT 3
     EDIF HECTOR SOTO
     JUANA DIAZ, PR 00795

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 3 of 5
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                                                                   One Hundred and Forty-Second Omnibus Objection
                                                                   Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
21   NEGRON SANTIAGO, ESMERALDA                                                              6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      126741          Undetermined*
     408 CARR 149 APT 3 EDIFICIO HECTOR SOTO
     JUANA DIAZ, PR 00795

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
22   NEGRON SANTIAGO, ESMERALDA                                                              6/28/2018      17 BK 03566-LTS Employees Retirement System of the               138362          Undetermined*
     408 CARR. 149 APT 3                                                                                                    Government of the Commonwealth
     HECTOR SOFO                                                                                                            of Puerto Rico
     JUANA DIAZ, PR 00795

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
23   NEGRON, CARLOTA COLON                                                                   6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      112436          Undetermined*
     CALLE 14 URB LOMA APT 963
     JUANA DIAZ, PR 00795

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
24   NEGRON, MARICONCHI RIVERA                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      121436          Undetermined*
     PO BOX 132
     VILLALBA, PR 00766

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
25   NIEVES LOPEZ, ENRIQUE                                                                   6/28/2018      17 BK 03566-LTS Employees Retirement System of the               150626          Undetermined*
     HC 3 BOX 10667                                                                                                         Government of the Commonwealth
     COMERIO, PR 00782                                                                                                      of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
26   NIEVES RODRIGUEZ, HILDA                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      164346          Undetermined*
     BLOQUE 44 #11 CALLE 53 MIRAFLORES
     BAYAMON, PR 00957

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 4 of 5
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                                                                   One Hundred and Forty-Second Omnibus Objection
                                                                   Exhibit B - Schedule of ADR/ACR Eligible Claims
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
27   OCASIO APONTE, LUIS MANUEL                                                              6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      166243          Undetermined*
     URB. VISTA BELLA CALLE 5 D-7
     VILLALBA, PR 00766

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
28   OFRAY ORTIZ, MIGUEL ANGEL                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      117287          Undetermined*
     PO BOX 371829
     CAYEY, PR00737

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
29   ORTIZ AGOSTO, LOURDES                                                                   6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      130170              $ 14,400.00
     CALLE 2 #271 VILLAS DORADAS
     CANOVANAS, PR 00729

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
30   ORTIZ LLERA, MARIA VIRGEN                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      112431          Undetermined*
     24345 BO VEGA
     CAYEY, PR00736

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
31   ORTIZ MONTERO, NESTOR A                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      130566          Undetermined*
     PO BOX 332144
     ATOCHA STA
     PONCE, PR 00733-2144

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
                                                                                                                                                                       TOTAL                    $ 239,600.00*




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 5 of 5
